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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF VIRGINIA
                                   Alexandria Division

JONATHON A MOSELEY,                 )
                                    )
            Plaintiff,              )
                                    )
v.                                  )                Civil Action No. 1:20-cv-01248 (AJT/JFA)
                                    )
JUDGE RICHARD E GARDINER, et al., )
                                    )
            Defendants.             )
____________________________________)

                                             ORDER

       Before the Court is Plaintiff Jonathon A. Moseley’s (“Plaintiff”) Notice of Hearing Date.

[Doc. No. 92]. Based on the Court’s Order, [Doc. No. 93], on the underlying Notice of Filing of

Supersedeas Bond and Request for Required Instructions to the Clerk by the District Court

Judge, [Doc. No. 91], it is hereby

       ORDERED that the Hearing noticed for Monday, December 6, 2021 at 9:00 a.m. [Doc.

No. 92] is CANCELLED.

       The Clerk shall forward a copy of this Order to Plaintiff and all counsel of record.




Alexandria, Virginia
December 3, 2021
